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  Hon. Lara K. Eshkenazi                                                       April 12, 2025
  United States District Court, EDNY
  500 Pearl Street
  New York, NY 10007

  Jane Doe v. Vikrant Pawar
  25-CV-1091 (FB)(LKE)

 Your Honor-

 I am Plaintiff’s counsel in the above-referenced action. I write to respond to Defendant’s April 10
 letter, which mounts an objection to the sealing of the case or the anonymizing of his name in the
 suit, and which asserts a “fraud upon the court”, with documents purportedly in support.

 Concerning the anonymization of Defendant’s name in the matter, Plaintiff has no objection to the
 request. The first I learned of the request was through Defendant’s communication to the Court.

 Defendant’s assertion concerning this Firm’s due diligence is meritless. The documents Defendant
 appends to his letter to support his response were not provided to me until he filed with the Court.
 But I first emailed counsel concerning my client’s allegations on January 22, 2025. On January
 27, Defendant wrote me back claiming to have “documentary and other evidence that contradict
 the claims” but asserting they were protected by privilege. My client promptly provided a
 notarized release for the records, and I wrote Defendant at least three times- January 27, February
 17, and February 21, requesting both my client’s file (to which she was entitled) and the evidence
 he asserted contradicted her claims. In all that time, Defendant refused to provide the documents
 he referred to- even after I sent the Complaint Plaintiff intended to file.

 I am obviously continuing to discuss this matter with my client. If it comes to a sanctions motion
 or a motion to dismiss, we will respond appropriately. But counsel’s assertion to the Court that
 we were “informed previously about the frivolous nature of this lawsuit” refers to nothing more
 than the barest of conclusory assertions, and a refusal to back the claim up despite repeated
 entreaties to do so; I thought it important the Court know that sooner rather than later.

 Thank you for your consideration.
 .
 Sincerely Yours,




  _____________________
  Andrew B. Stoll
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